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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

    COREY L. BEY,

               Plaintiff,

      v.                                                        Civil Action No. 1:14-cv-01115-RBW

    WASHINGTON METROPOLITAN
    AREA TRANSIT AUTHORITY,

           Defendant.

                                        JOINT STATUS REPORT

           COME NOW, Plaintiff Corey L. Bey and Defendant Washington Metropolitan Area, by

and through undersigned counsel, and in response to the Court’s Order of March 17, 2020 (Dkt.

235), requesting that the Parties submit a joint status report proposing a schedule governing further

proceedings in this case, state the following.

           At the time the Court entered its Order on March 17, vacating all pending deadlines, the

following events were remaining to occur:

           •     Plaintiff's jury instruction, voir dire, verdict form to Defendant: March 18, 2020;

           •     Meeting/conference call to discuss pre-trial statement: March 18, 2020;

           •     Filing of the Amended Joint Pre-Trial Statement: March 20, 2020.

           •     Plaintiff's objections to Defendant's jury instruction, voir dire and verdict form: March
                 20, 2020;

           •     Defendant's objections to Plaintiff's jury instruction, voir dire, verdict form: March 25,
                 2020;

           •     Defendant’s reply to Plaintiff’s supplemental opposition briefs to certain of
                 Defendant’s Motions in Limine: March 27, 2020;1



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 Defendant filed replies to Plaintiff’s supplemental opposition briefs to motions in limine on March 27, 2020. (See
Dkt. Nos. 236-240.)
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        •     Filing deadline of the Parties’ respective jury instruction, voir dire and verdict form:
              March 28, 2020;

        •     Pre-Trial Conference: April 2, 2020;

        •     Trial: May 4-15, 2020.

        Immediately after receiving the Court’s March 17 Order, the Parties spent the next few

days (from March 17 to March 26) discussing possible trial dates and related deadlines. The Parties

have been unable to agree on dates and therefore ask the Court to select the dates.

              1. PLAINTIFF’S POSITION

                     a. Scheduling a Trial Date

        Plaintiff, in consultation with counsel, has given considerable thought to how this case

should proceed in light of rapidly changing world events and his family’s own health and safety.

In consideration of all the facts and circumstances, Plaintiff strongly requests that this Honorable

Court reschedule the trial for fall 2020. Specifically, Plaintiff requests a trial date of November 9,

2020. While Plaintiff understands Defendant’s preference for an earlier trial date, the simplest

solution is to schedule the trial for November 9, 2020, as both parties and their counsel are

available at that time.

        Scheduling a trial date is a matter of fundamental fairness. Plaintiff submits that a

November trial date is reasonable for the following reasons: (1) Plaintiff’s preferred counsel is his

pro bono counsel, the Georgetown Law Civil Rights Clinic, whose current students are graduating

in May 2020 and whose new students will begin in early September 2020; and (2) a later fall date

reduces the risk that the trial will be postponed again due to unanticipated developments in the

COVID-19 pandemic.

        First, the trial date has disproportionate significance to Plaintiff. Plaintiff has conferred

at length with pro bono counsel. He has established a strong working relationship with counsel


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and eagerly desires to continue working with the Georgetown Law Civil Rights Clinic through a

jury trial. A November trial date would allow new members of his legal team at the Civil Rights

Clinic to familiarize themselves with the exceptionally lengthy record in this case, review the

evidence, and prepare for trial. Counsel was honored to join the case with the understanding that

student attorneys would serve as first-chair counsel. With new student attorneys taking lead on the

case in September, a November trial date is a necessity for counsel to meet their ethical obligation

to provide Plaintiff with competent, effective representation.

       Plaintiff is cognizant of Defendant’s preference for an earlier trial date. However,

Defendant’s generalized reasons for an earlier trial date should not override Plaintiff’s more

pressing need for a later trial date. Notably, this case has already been pending for eight years, so

an additional 3-4 months into the fall is not a significant delay. Scheduling trial earlier would be

deeply prejudicial to Plaintiff. At the same time, a later trial date would not unduly burden

Defendant.

       Second, we are experiencing an unprecedent global emergency. In light of the

unprecedented global pandemic, it seems unwise to rush to a new trial date. As reflected in the

District Court’s most recent standing order, this pandemic and corresponding national emergency

have affected all aspects of daily life, including court operations. Given that normal day-to-day

interactions will likely not resume until the fall, an earlier trial date will run the risk of being

pushed back repeatedly. It is very difficult to predict when the Court will call juries to perform

mandatory jury duty in light of social distancing. Plaintiff contends the more prudent course is to

set a November trial date.




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                     b. Pretrial Filings

        Since the Court vacated all pretrial submission deadlines in addition to the trial date, the

parties have not exchanged certain parts of the joint pretrial statement. It is Plaintiff’s preference

to wait to exchange documents once a trial date, and a corresponding pretrial conference date, has

been set. It is Plaintiff’s position that it would be premature to finalize the joint pretrial statements

in the absence of a confirmed trial date when such statements are usually exchanged close to the

trial date. Based on Plaintiff’s proposed November trial date, Plaintiff requests the following

pretrial schedule:

            •   Each party’s portion of the joint pretrial statement: Friday, September 25, 2020

            •   Each party’s objections to opposing party’s portion of the joint pretrial statement:

                Friday, October 2, 2020

            •   Each party’s responses to opposing party’s objections to joint pretrial statement:

                Friday, October 9, 2020

            •   Joint Pretrial Statement Submission: Monday, October 12, 2020

            •   Pretrial Conference: Monday, October 19, 2020

            •   Trial: Monday, November 9, 2020

            2. DEFENDANT’S POSITION

        Defendant’s Counsel has requested that Plaintiff’s Counsel continue to work with them,

since the March 17 Order was issued and during the months of March and April, so as to prepare

and file the Amended Joint Pre-Trial Statement in May. Plaintiff has refused to do so, stating he

will only provide his few remaining parts (jury instructions, voir dire and verdict form, objections

to Defendant’s set of the same and responses to Defendant’s objections to Plaintiff’s portion of the

pre-trial statement) in September and October 2020, with the Joint Pre-Trial Statement to be filed



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on October 12, 2020.2 As these are tasks that can be accomplished now, even in this remote

working environment with tools such as video teleconferencing, and do not need to be delayed for

six to seven months (especially given that Plaintiff had previously filed a Joint Pre-Trial Statement

on November 22, 2019 and it is Plaintiff’s current counsel who requested a brief extension of time

to make slight amendments to the pre-trial statement), Defendant requests that the Court order the

following:

           •     Plaintiff's jury instruction, voir dire, verdict form to Defendant and Plaintiff's
                 objections to Defendant's jury instruction, voir dire and verdict form: due within two
                 days of the Court’s Order;

           •     Defendant's objections to Plaintiff's jury instruction, voir dire, verdict form: due within
                 one week of Plaintiff providing his jury instruction, voir dire, verdict form to
                 Defendant;

           •     Plaintiff's response to Defendant's objections to the Pre-Trial Statement and
                 Defendant's response to Plaintiff's objections to the Pre-Trial Statement: due within one
                 week of the date set for Defendant's objections to Plaintiff's jury instruction, voir dire,
                 verdict form;

           •     Meeting/conference call to discuss pre-trial statement: to occur within one week of the
                 date set for Plaintiff's response to Defendant's objections and Defendant's response to
                 Plaintiff's objections to the Pre-Trial Statement.

           •     Filing of the Amended Joint Pre-Trial Statement: due one week after the deadline for
                 the Parties to confer as to the Pre-Trial Statement.




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    On March 23, 2020, Defendant proposed the following schedule – which was rejected by Plaintiff:

      •    Plaintiff’s jury instruction, voir dire, verdict form to Defendant: former date: March 18, 2020 -- new date:
           March 27, 2020
      •    Defendant’s objections to Plaintiff’s jury instruction, voir dire, verdict form: former date: March 25, 2020 -
           - new date: April 3, 2020
      •    Plaintiff's objections to Defendant’s jury instruction, voir dire and verdict form: former date: March 20, 2020
           -- new date: April 3, 2020
      •    Plaintiff’s response to Defendant’s objections: April 17, 2020
      •    Defendant’s response to Plaintiff’s objections: April 17, 2020
      •    Meeting/conference call to discuss pre-trial statement: To be scheduled during the week of April 27 - May 1.
      •    Filing of joint pre-trial statement: May 8, 2020.


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        As to the pre-trial and trial date, given how long this case has been on the docket and the

three prior trial date continuances,3 Defendant requests pre-trial and trial dates as soon as possible.

Defendant is available from May 11, 2020 through the end of the year, except for the following

dates: May 21-25, June 1-19, August 1-14, August 24-September 6, and December 21-31.

        Defendant needs to rely on numerous witnesses and documents to defend itself at trial. As

the events at issue occurred from 2009 to 2014, witness’ memories are fading, they are retiring or

otherwise leaving employment with Defendant, they become uncooperative and they are moving

out of the jurisdiction. In fact, this has already happened with two of Defendant’s trial witnesses,

Ms. Celeste-Quillen (retired and residing in Tennessee) and Dr. Renee Moore (left employment at

WMATA and residing in Alabama).

        Plaintiff is currently represented by two attorneys who are licensed to practice in this court,

Ms. Abraham and Mr. Francois, who are supervising the law students on this case and who will

presumably continue to represent Plaintiff through trial. See LCvR 83.4(b)(3) (discussing how the

supervisor must be intimately involved in virtually every aspect of the case, from signing pleadings

and motions, to being present at depositions and court proceedings, and assuming “full

professional responsibility for student’s guidance in any work undertaken and for the quality of a

student’s work…”). There is no reason that Plaintiff, with the representation of two experienced

attorneys such as Ms. Abraham and Mr. Francois – who will lead his representation even if

unlicensed law students are working on the case – cannot prepare the joint pre-trial statement,

participate in a pre-trial conference and represent Plaintiff at trial in the coming months. If on the



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  This case has been on the Court’s docket for almost eight years and has been previously scheduled for trial three
separate times but has been continued in each instance: November 12, 2019 (continued for a criminal proceeding);
March 16, 2020 (continued due to Plaintiff’s Counsel’s appearance in the case) and May 4, 2020 (continued per Court
Operations Standing Order 20-9).


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other hand Plaintiff argues that his “preferred counsel” are the current graduating law students who

represent him, pushing the trial date to November will not permit the graduating law students to

represent Plaintiff at trial.

        Defendant understands the desire of the Georgetown Law Clinic to provide learning

experiences for its law students, however, that choice on the Law Clinic’s part should not be to the

detriment of Defendant in having a speedy and efficient resolution to this matter.

        Further, there is no guarantee that by delaying trial until November (or some other time in

the fall or winter), that the coronavirus situation will be over. In fact, Dr. Anthony Fauci, director

of the National Institute of Allergy and Infectious Disease, has stated at a White House press

briefing on March 30, 2020, that he anticipates another coronavirus outbreak in the fall. This has

been         echoed             by    other        experts         in        the        field.       (See

https://www.bostonherald.com/2020/03/22/coronavirus-may-cause-disruptions-for-a-year-

experts-say/ (“But the highly contagious disease could resurface in the fall and winter before a

vaccine is here, Hamer and other experts warned. The vaccine won’t be rolled out until the spring

of 2021 at the earliest.”) If that is the case, Defendant will now be facing a fourth trial continuance,

pushing trial into 2021.

        All Defendant is requesting is that the Court schedule the pre-trial submissions, the pre-

trial conference and trial in this case for its earliest available dates as the future is (and always will

be) uncertain. Defendant, therefore, requests that the pre-trial and trial occur as soon as possible.




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   3. CONCLUSION

The parties respectfully submit this joint status report for the Court’s consideration.



                       Respectfully submitted,

                       Tina Tang
                       Court-certified student attorney

                       Valencia Richardson
                       Court-certified student attorney

                       Andrew Dam
                       Court-certified student attorney

                       Alexander Afnan
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                                 CERTIFICATE OF SERVICE

       I certify that on April 13, 2020, a copy of the foregoing was served via the court’s electronic

filing system on all counsel of record.



                              /s/ Nimalan Amirthalingam
                              Nimalan Amirthalingam




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